Case 2:03-cv-02360-.]PI\/|-STA Document 96 Filed 06/23/05 Page 1 of 2 Page|D 107

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IN THE uNJ:TEn sTATEs o:sTRIcT couR'r
FOR THE WESTERN DISTRICT OF TENNESSEE 05 MHJ?' f
wEsTERN o:v:csIoN ' d y

 

JOSEPH D. SMITH,

Plaintiff,
v. Nb. 03-2360 Ml/An
ROSENTHAL COLLINB GROUP, LLC,

MAUREEN C. DOWNS and
DOUGLAS O. KITCHEN,

vvvvvv\¢\.dv`¢v

Defendants.

 

ORDER GRANTING JOINT MDTION FOR EXTENBION OF DEADLINES AND RESETTING
OF TRIAL DATE

 

Before the Court is the Joint Motion for Extension of Deadlines
and Resetting of Trial Date, filed June 15, 2005. Good cause having
been shown, the Court GRANTS the motion and modifies the Rule l6(b)

Scheduling Order as follows:

Filing Dispositive Motions: July 6l 2005
The non jury trial in this matter is set to begin Monday, September
26, 2005, at 9:30 a.m. in courtroom no. 4.

A pretrial conference is set for Mondayl Segtember 19l 2005, at 8:45

a.m.

 

The pretrial order is due by no later than 4:30 p.m. on Monday;l
Se tember 12 2005.
Absent good cause, the dates established by this order shall not

be extended or modified.

SO ORDERED this jazth day Of June, 2005.

QM‘OLQ

JO P. MCCALLA
TED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 96 in
case 2:03-CV-02360 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

